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IN THE UNITED sTATEs DISTRlCT CoURT 05 AUG -9 AH 6= 57
FoR THE DISTRICT oF TENNESSEE

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CLER%<, U.S.

UNITED STATES OF AMERICA *

Plaintiff, *
v. * Crim. No. 03-20400-B
LOGAN YOUNG, *

Defendant. *

CONSENT PRELIMINARY ORDER OF FORFEITURE

ln Indictment Nurnber 03-20400-B, the United States sought forfeiture of specific
property of defendant Logan Young, pursuant to 31 U.S.C. §5317. On February 3, 2005, a jury
returned a special verdict specifying the amount of forfeiture at $96,100.()0.

According]y, it is ORDERED:

1. Based upon the jury’S verdict in Case Nurnber 03-20400-B, the United States is
authorized to seize the following property belonging to defendant Logan Young, and his interest
in it is hereby forfeited to the United States for disposition in accordance With the law, subject to
the provisions of 21 U.S.C. §853(n) and Rule 322 of the Federal Rules of Criminal Procedure:

The Sum of Ninety-Six Thousand One Hundred Dollars
($96,100.00) in U.S. funds.

2. The forfeited property shall be remitted by the defendant to the United States

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This document entered nn the dockets eet in compiia ce "~?
with Hu'.e 55 and/or 32(1:)) FHCrP on __;_l:______ o’)/O

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District Court Clerk on or before August 12, 2005. The Clerk shall pay the funds to the United
States Marshal to be held in his secure custody, or, as may be necessary, the Attorney General
may appoint a substitute custodian.

4. Pursuant to 21 U.S.C. § 853(n)(1), the United States Marshal shall publish at least
once a week for three successive weeks in a newspaper of general circulation in Shelby County,
Tennessee, notice of this order, notice of the United States’ intent to dispose of the property in
such manner as the Attorney General or his delegate may direct, and notice that any person, other
than the defendant, having or claiming a legal interest in any of the above-listed forfeited property
must file a petition with the court within thirty (30) days of the final publication of notice or of
receipt of actual notice, whichever is earlier. This notice shall State that the petition shall be for a
hearing to adjudicate the validity of the petitioner's alleged interest in the property, shall be signed
by the petitioner under penalty of perjury, and shall set forth the nature and extent of the
petitioner's right, title or interest in each of the forfeited properties and any additional facts
supporting the petitioner's claim and the relief sought The United States Marshal or his delegate
may use the attached Legal Notice.

The United States may also, to the extent practicable, provide direct written notice to any
person known to have alleged an interest in property that is the subject of this Preliminary Order
of Forfeiture, as a substitute for published notice as to those persons so notified.

5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall
become final for purposes of appeal as to the defendant as of the date of sentencing The Court

acknowledges that Defendant is in the process of appealing to the United States Court of Appeals

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for the Sixth Circuit, the legality of the forfeiture award. By entering this consent order,
Defendant is not compromising in any way his right to review of the forfeiture by the United
States Court of Appeals for the Sixth Circuit, as is currently pending in U.S.A. v. Logan Young,
Dk. #05~6()08.

6. lf no third party files a timely claim, this Order shall become the Final Order of
Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2); subject only to reversal on appeal.

7'. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the period
provided in 21 U.S.C. § 853(n)(2), which is incorporated by 18 U.S.C. § 982(b) and 28 U.S.C. §
246l(c), for the filing of third party petitions

8. The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Fed. R. Crim. P. 32.2(€),

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ITIS so 0RDEREDth13 g day OfA ust,2005.

 

 

. D NIEL BRI'§EN \
Uni d States District Judge

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APPROVED AND CONSENTED:

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United States Attorney

aaa

ISTOPHER E. COTTEN
ssistant United States Attorney

ROBERT HUTTON
Attorney for the Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 209 in
case 2:03-CR-20400 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listedl

 

 

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Honorable .l. Breen
US DISTRICT COURT

